Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 1 of 44




           EXHIBIT 10
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 2 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 3 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 4 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 5 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 6 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 7 of 44




                                                                                   o
                                                                    institution.
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 8 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 9 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 10 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 11 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 12 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 13 of 44




                                                                     2
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 14 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 15 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 16 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 17 of 44
    Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 18 of 44




)




                                                                         17
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 19 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 20 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 21 of 44




                                                                     20




                                                                          20
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 22 of 44




                                                                     1
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 23 of 44




                                                                     E




                                                                         22
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 24 of 44




                                                                     3
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 25 of 44
        Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 26 of 44




els 当




 으
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 27 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 28 of 44




                                                                     00




                                                                          27
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 29 of 44




                                                                     ES




                                                                          28
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 30 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 31 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 32 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 33 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 34 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 35 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 36 of 44




                                                                     5
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 37 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 38 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 39 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 40 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 41 of 44
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 42 of 44




                                                                     41
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 43 of 44




                                                                     gy
Case 6:21-cv-00422-ADA Document 54-11 Filed 04/03/23 Page 44 of 44
